            Case 1:21-cr-00107-RDM Document 61 Filed 08/20/21 Page 1 of 6




                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA



   UNITED STATES OF AMERICA

                                                   Criminal Action No. 21-00107 (RDM)
                  v.

   BRUNO JOSEPH CUA


                   MOTION TO MODIFY CONDITIONS OF RELEASE

       Defendant Bruno Joseph Cua, by and through his attorneys, pursuant to Federal Rule of

Criminal Procedure 46 and 18 U.S.C. § 3142, respectfully requests that this Court enter an order

modifying the terms and conditions of Mr. Cua’s pretrial release to expand the area in which he

is permitted to move with advance approval from Pretrial Services to include the Northern

District of Georgia. This requested modification is explained in further detail below.

       Undersigned counsel has contacted Mr. Cua’s supervising Pretrial Services officer,

Officer Shannon Brewer, who has stated that she has no objection to this proposed modification.

Assistant United States Attorney Kimberly Paschall has stated that the government also does not

oppose the requested modification.

       This matter is set for a video status hearing this coming Tuesday, August 24, 2021, at

3:30 p.m.

       In support of this motion, Mr. Cua states as follows:

       1.       On March 10, 2021, the Court entered a Memorandum Opinion and Order

granting Mr. Cua’s motion for pretrial release, ordering that he be released on March 16, 2021,

subject to conditions. See ECF No. 25 at 16. The Memorandum Opinion and Order attached an

Order Setting Conditions of Release. Id. at Attachment A.
            Case 1:21-cr-00107-RDM Document 61 Filed 08/20/21 Page 2 of 6




       2.       On April 12, 2021, the Court granted in part and denied in part a motion by Mr.

Cua to clarify his conditions of release with respect to employment outside the family property.

See ECF No. 35. The Court denied as moot Mr. Cua’s request to confirm that that he is permitted

to leave his home’s property for employment purposes, subject to his other conditions of release,

noting that the existing order already permitted such employment. Id. at 1, 2. The Court granted

Mr. Cua’s request that his third-party custodian Dr. Cua not be required to remain with Mr. Cua

during his work outside the property. Id. at 2.

       3.       On June 2, 2021, the Court granted a motion by Mr. Cua to modify his conditions

of release in three ways: (1) to permit him to travel to and within neighboring Cherokee County,

Georgia; (2) to permit him to travel to and from the property owned by the Cua family in Jasper

County, Georgia; and (3) to permit him to go to and be inside the outbuilding on his home’s

property referred to as the “workshop” or “barn” without direct supervision of his third-party

custodian. See ECF No. 46.

       4.       On July 9, 2021, the Court granted a motion by Mr. Cua to modify his conditions

of release in two ways: (1) to permit him to drive himself to and from work sites for employment

that has been pre-approved by Pretrial Services without being accompanied by his third-party

custodian; and (2) subject to advance approval by the Pretrial Services Office and his other

conditions of release, permitting Mr. Cua’s father, Joseph Cua, to serve as an alternate third-

party custodian, provided that he completes, signs, and submits to the Court a declaration from

himself in the form of Attachment B to the Court’s March 10, 2021 Order on the Monday

following any such period.

       5.       Mr. Cua has now been on pretrial release for more than five months with no

violations. Dr. Alise Cua and/or Joseph Cua have submitted a declaration every week as Mr.




                                                  2
            Case 1:21-cr-00107-RDM Document 61 Filed 08/20/21 Page 3 of 6




Cua’s third-party custodians, certifying that Mr. Cua has complied with his conditions of release.

Mr. Cua is also working regularly off of his family’s property, and each employer has submitted

a declaration of Mr. Cua’s compliance with his conditions of release during his employment with

each of them.

       6.       Mr. Cua respectfully requests to modify the Court’s existing orders setting

conditions of release to permit him to travel within the geographic bounds of the Northern

District of Georgia, subject to his other conditions of release, including by continuing to obtain

advance approval from Pretrial Services for travel outside his home. A map showing the

boundaries of the Northern District of Georgia is attached hereto as an exhibit.

       7.       Mr. Cua lives in Fulton County, Georgia, and currently is permitted to travel

within Fulton County and neighboring Cherokee County, as well as to his family’s property in

Jasper County, Georgia, which is in the Middle District of Georgia. Permitting Mr. Cua to travel

within the Northern District of Georgia, with advance approval by Pretrial Services, will allow

him to take jobs outside his Fulton and Cherokee Counties and for he and his family to engage in

other activities within the Northern District that are approved by Pretrial Services. For example,

he was recently approved by Pretrial Services to take a job in Roswell, Georgia, which is

primarily within Fulton County, but as Mr. Cua got closer to the job location he realized it was in

Cobb County, so he turned around and did not complete the job.

       8.       As a reference, in United States v. Matthew Miller, 1:21-cr-00075-RDM, Your

Honor granted the defendant’s motion for release and the governments related motion requesting

certain conditions of release. See Miller, ECF No. 22. Although the defense is not aware of all of

the circumstances of Mr. Miller’s case, Mr. Miller was charged with many of the same offenses

as Mr. Cua, except that he was charged with the more serious offense of assaulting a federal




                                                 3
            Case 1:21-cr-00107-RDM Document 61 Filed 08/20/21 Page 4 of 6




officer with a dangerous weapon under 18 U.S.C. 111(b), see Miller, ECF No. 10, while Mr. Cua

has been charged under subsection 111(a). The government did not oppose Mr. Miller’s release.

Mr. Miller’s conditions included only that he not travel outside the continental United States

without prior approval of the Court and that he notify Pretrial Services of any travel outside his

“home jurisdiction.”1 See Miller, ECF No. 22 at 2.

       9.       As stated above, Mr. Cua’s supervising Pretrial Services officer, Officer Shannon

Brewer, has informed undersigned counsel that she has no objection to this proposed

modification.

       10.      Counsel has also emailed with Assistant United States Attorney Kimberly

Paschall. As reviewed above, Ms. Paschall has stated that the government does not oppose the

requested modification.

       Wherefore, for the foregoing reasons, Mr. Cua respectfully requests that the Court enter

the attached order modifying the Order Setting Conditions of Release, as stated above, subject to

the other conditions of release and supervision of Pretrial Services.




1
  It is unclear exactly what “home jurisdiction” means based on publicly available documents but
presumably it encompasses the federal district in which Mr. Miller resides. The docket entry for
the Order granting Mr. Miller’s release, ECF No. 22, refers to an attached document that does
not appear to be publicly available.

                                                 4
       Case 1:21-cr-00107-RDM Document 61 Filed 08/20/21 Page 5 of 6




                                         Respectfully submitted,


DATED: August 20, 2021                   /s/ William E. Zapf
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                                     5
         Case 1:21-cr-00107-RDM Document 61 Filed 08/20/21 Page 6 of 6




                                CERTIFICATE OF SERVICE

       I hereby certify that on this 20th day of August, 2021, I filed the foregoing with the Clerk

of the United States District Court for the District of Columbia by using the CM/ECF system,

which system I understand has provided electronic notice counsel of record.



Dated: August 20, 2021                               /s/ William E. Zapf
                                                     William E. Zapf
